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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

COLE PECK,                   §
                             §
     Plaintiff,              §
                             §
v.                           §                           Civil Action No. 3:17-CV-2923-N
                             §
ASSET MANAGEMENT ASSOCIATES, §
LLC,                         §
                             §
     Defendant.              §

                                          ORDER

       Pursuant to Federal Rule of Civil Procedure 56(f), the Court gave notice to the parties

that it was considering granting summary judgment sua sponte on Plaintiff Cole Peck’s

remaining claim for declaratory judgment. See July 18, 2018 Order [41]. After considering

the parties’ responses [42], [48], the Court grants summary judgment on Peck’s claim for

declaratory judgment regarding his liability to Defendant Asset Management Associates,

LLC (“AMA”) for rent that was allegedly due as of March 1, 2017. The Court also denies

Peck and AMA’s motions for reconsideration [43], [46].

                               I. ORIGINS OF THE DISPUTE

       This action arises from a commercial lease (the “Lease”) between original tenant

Ascent, LLC (the “Debtor”) and landlord AMA. The Guarantors are a group of doctors who

served as the Debtor’s principals. Each of the Guarantors, including Peck, signed a guaranty

(the “Guaranty”) of the Lease.




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       On November 14, 2016, the Debtor filed for bankruptcy relief under title 11 of the

U.S. Bankruptcy Code in the U.S. Bankruptcy Court for the Northern District of Texas (the

“Bankruptcy Court”). On December 9, 2016, the Debtor moved in the Bankruptcy Court to

assign the Lease to Uptown ER, LLC (“Uptown ER”). AMA did not object to the Debtor’s

motion. And on January 20, 2017, the Debtor filed a notice of cure in which it notified AMA

of its contention that no defaults existed under the Lease and that it owed no cure costs to

AMA.

       The Bankruptcy Court then issued an order (the “Sale Order”) on March 6, 2017,

assigning the Lease to Uptown ER. As part of the assumption and assignment, the

Bankruptcy Court gave AMA notice that the Debtor intended to assume and assign the Lease

and that AMA had the ability to appear and object to the assumption and assignment. In

issuing the Sale Order, the Bankruptcy Court found that (1) no cure amounts were due under

the Lease and (2) Uptown ER had provided adequate assurance of future performance to

AMA. See AMA’s Mot. to Dismiss Ex. A 13, 23 [7-1]. Uptown ER thus assumed the Lease.

       However, on August 16, 2017, AMA sent a letter to the Guarantors asserting that the

Debtor was in default on the Lease for rent that had accrued as of March 1, 2017 and that the

Guarantors were responsible for the past-due rent. Peck then filed this action on October 23,

2017, seeking a declaration that he is not liable to AMA. The Court has since dismissed all

of the parties’ claims, except Peck’s remaining claim for declaratory judgment regarding his

pre-Sale Order obligations. See July 18, 2018 Order.




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               II. THE COURT GRANTS SUMMARY JUDGMENT SUA SPONTE

        Rule 56(f) permits a district court, after “giving notice and a reasonable time to

respond,” to “consider summary judgment on its own after identifying for the parties material

facts that may not be genuinely in dispute.” Fed. R. Civ. P. 56(f)(3). In its July 18, 2018

Order, the Court gave notice to the parties that it was considering summary judgment and

gave them 21 days to file responses. See July 18, 2018 Order at 14–15. The parties

responded, and the Court finds that there is no genuine dispute of material fact regarding

whether Peck is liable to AMA under the Sale Order for rent that was due as of March 1,

2017.

        This Court already dismissed AMA’s claim that Peck is liable under the Guaranty for

rent that allegedly came due on March 1, 2017. Id. at 10–14. This Court held that the

doctrine of claim preclusion barred AMA’s claim because the Bankruptcy Court held that

no past-due amounts existed under the Lease as of March 6, 2017. The Court therefore gave

the parties notice that it was considering granting summary judgment sua sponte on Peck’s

remaining claim for declaratory judgment, which involves the same March 2017 past-due

rent issue.

        After reviewing the parties’ responses, the Court finds that there is no genuine dispute

of material fact regarding Peck’s liability for rent allegedly due on March 1, 2017. The Court

rejects AMA’s argument that because the claims arise under the Guaranty, the Bankruptcy

Court’s conclusions under the Lease are not controlling. The Fifth Circuit follows the

transactional test for determining whether two nominally different claims are one in the same.




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Southmark Props. v. Charles House Corp., 742 F.2d 862, 869 (5th Cir. 1984). The issue here

centers on rent due as of March 1, 2017, which is identical to the issue determined by the

Bankruptcy Court on March 6, 2017. And in its Notice of Final Asset Purchase Agreement,

entered on March 27, 2017, the Bankruptcy Court again recognized that no amounts were

owed under the lease as of March 20, 2017. In re Ascent Group, LLC, No. 16-34436 (Bankr.

N.D. Tex. March 27, 2017) [159]. AMA, despite being given notice in the bankruptcy

proceeding, did not object to such findings that no cure amounts or defaults existed under the

Lease and chose not to object to the assumption and assignment of the Lease; it is estopped

from doing so now.

       Under the Declaratory Judgement Act, this Court has discretion to declare the rights

and other legal relations of any interested party seeking such declaration. 28 U.S.C. § 2201.

As stated above, the Court already dismissed AMA’s claim against Peck for March 2017 rent

under the doctrine of claim preclusion. With regard to Peck’s claim for declaratory judgment

on the same issue, the Court finds that there is no genuine dispute of material fact regarding

Peck’s liability to AMA for rent due as of March 1, 2017. The Court therefore grants

summary judgment sua sponte in favor of Peck on his remaining declaratory judgment claim.

       Accordingly, the Court renders declaratory judgment that Peck owes nothing under

the Guaranty for rent accruing on or before March 6, 2017.

       III. THE COURT DENIES THE PARTIES’ MOTIONS FOR RECONSIDERATION

       Peck and AMA both filed motions for reconsideration of the Court’s July 18, 2018

Order. The Federal Rules of Civil Procedure do not recognize a motion for reconsideration.




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Federal courts, however, have considered motions for reconsideration to serve the limited

purpose of “correct[ing] manifest errors of law or fact or to present newly discovered

evidence.” Neaville v. Wells Fargo Bank, N.A., 2013 WL 12124590, at *1 (N.D. Tex. June

4, 2013) (quoting Wolf Designs, Inc. v. Donald McEvoy Ltd., Inc., 2005 WL 827076, at *1

(N.D. Tex. Apr. 6, 2005)). But litigants are expected to advance their strongest arguments

the first time a court considers the case; and a motion for reconsideration “is not to be used

to as a means for rehashing old arguments or to advance a legal theory that could have been

presented earlier.” Id. And the court ultimately has discretion to grant or deny a motion for

reconsideration. See Dos Santos v. Bell Helicopter Textron, Inc. Dist., 651 F. Supp. 2d 550,

553 (N.D. Tex. 2009).

       Here, the Court finds no manifest error of law or fact to justify granting AMA’s

motion for reconsideration. With regard to Peck’s motion, the Court dismissed Peck’s claim

for future liability under the Guaranty because it declined to speculate about “what might

happen in the event of a post-petition default . . . when neither party has asserted that Uptown

ER has in fact defaulted under the Lease.” July 18, 2018 Order at 6. While the Court

recognizes Peck’s concern that he will be in “legal limbo” should the Court refuse to declare

that he has no future liability to AMA, Peck’s future obligations are only relevant if Uptown

ER, as assignee of the Lease, breaches its Lease obligations. Neither party alleges that

Uptown ER has breached its lease obligations. The Court therefore denies Peck’s motion for

reconsideration.




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     Signed October 12, 2018.



                                        _________________________________
                                                  David C. Godbey
                                             United States District Judge




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